Case 1:19-cv-00669-JTN-ESC ECF No. 45 filed 09/25/19 PageID.615 Page 1 of 1

                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


MICHIGAN REPUBLICAN PARTY, et al.,

           Plaintiffs,                    Case No. 1:19−cv−669

    v.                                    Hon. Janet T. Neff

JOCELYN BENSON,

           Defendant.
                                    /



                                    ORDER
        Pending before the Court is a Stipulated Proposed Order for the
Substitution of Plaintiffs' Counsel (ECF No. 44). Upon review of the request
for substitution, the Court finds that the filing fails to comply with the
September 11, 2019 order (ECF No. 22), which required all future filings to
reflect both captions of the consolidated cases and to be filed in the Lead
Case, No. 1:19−cv−614. For this reason, the stipulated proposed order is
stricken. Accordingly: IT IS HEREBY ORDERED that the Stipulated Proposed
Order for the Substitution of Plaintiffs' Counsel (ECF No. 44) is STRICKEN.

         IT IS SO ORDERED.


Dated: September 25, 2019                          /s/ Janet T. Neff
                                                  JANET T. NEFF
                                                  Janet T. Neff United States District
                                                  Judge
